                                                                   United States District Court
                                                                     Southern District of Texas

                                                                         ENTERED
                                                                         April 25, 2022
                   UNITED STATES DISTRICT COURT
                                                                     Nathan Ochsner, Clerk
                    SOUTHERN DISTRICT OF TEXAS
                       GALVESTON DIVISION

UNITED STATES OF AMERICA              §
                                      §
VS.                                   § CRIM ACTION NO. 3:21-cr-16
                                      §
JONATHAN KANATZAR                     §

                                  ORDER

      The court has considered the fifth unopposed motion for a

continuance, wherein counsel for the defendant, Jonathan Kanatzar, has

represented that more time is needed to complete his investigation and

analysis, prepare pretrial motions, and prepare for trial, and that failure to

grant a continuance would result in a miscarriage of justice. Dkt. 19.

      Based on the representations made in the motion, the court finds that

the ends of justice served by granting a continuance outweigh the best

interest of the public, as well as the defendant, to a speedy trial. The Court

also finds that pursuant to Title 18 U.S.C. § 3161(h)(7)(A) & (B), failure to

grant a continuance would result in a miscarriage of justice, and that a

continuance is necessary to allow reasonable time for trial preparation.

      The motion is therefore granted. It is hereby ordered that a period of

excludable delay shall commence on April 21, 2022, pursuant to Title 18



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U.S.C. § 3161(h)(7)(A) & (B). The period of excludable delay shall end at

commencement of trial or disposition of charges.

Pretrial motions shall be filed by July 11, 2022.

Responses shall be filed by July 18, 2022.

A pretrial conference is set for Thursday, July 21, 2022 at 10:30 am.

Trial in this case is set for Monday, August 1, 2022 at 9:00 am.

      Signed on Galveston Island this 25th day of April, 2022.


                                      ___________________________
                                      JEFFREY VINCENT BROWN
                                      UNITED STATES DISTRICT JUDGE




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